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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

_____________________________
                              )
AHMED ZAID SALEM ZUHAIR,      )
                              )
                              )
               Petitioner,    )
                              )
                              )          Civ. No. 08-0864 (EGS)
          v.                  )
                              )
GEORGE W. BUSH, et al.,       )
                              )
               Respondents.   )
_____________________________ )


                                 ORDER

     Pending before the Court is Petitioner’s Emergency Motion to

Compel Immediate Medical Relief, requesting an order that (1) the

government refrain from restraining Petitioner during force-

feeding; (2) the government immediately diagnose and treat the

cause of Petitioner’s vomiting and inability to retain feeding

solution; (3) the government substitute a non-corn-based feeding

solution to the extent that an allergy is the cause of

Petitioner’s inability to retain the feeding solution; (4) the

government immediately provide Petitioner’s counsel with all

medical and mental health records relating to Petitioner and

provide updated records on a continuing basis; and (5) the

government permit a physical examination of Petitioner by an

independent medical expert retained by Petitioner’s counsel.

     Upon consideration of the motion, the government’s

opposition thereto, the reply in support thereof, the
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supplemental briefing ordered by the Court, the relevant law, the

record herein, and oral arguments during the hearing in open

court on December 18, 2008, and pursuant to the Court’s oral

ruling at the conclusion of that hearing, the motion is GRANTED

IN PART and DENIED IN PART.

     The Court finds that in view of the pleadings filed by both

the Petitioner and the government, including Petitioner’s

counsel’s declaration that the Petitioner was vomiting through a

significant portion of the most recent attorney-client meeting at

Guantanamo Bay, that Petitioner’s health has continued to

deteriorate, and that, in counsel’s estimate, Petitioner has lost

significant weight, and in view of the government’s own medical

doctor’s declaration that on December 15, 2007, Petitioner

weighed 147 pounds, that on October 1, 2008, Petitioner weighed

121 pounds, and on November 11, 2008, Petitioner weighed 111

pounds, less than eighty percent of his ideal body weight,

Petitioner should be granted some, but not all, of the relief he

seeks.   Therefore, pursuant to Federal Rule of Evidence 706, and

in order to ensure that Petitioner has meaningful access to

counsel, that his counsel are able to adequately communicate with

him in order to represent his claims to this Court, and to

preserve this Court’s jurisdiction over Petitioner’s habeas

petition, see, e.g., Husayn v. Gates, 2008 WL 4046478 (D.D.C.

Nov. 28, 2008); Joudi v. Bush, 406 F. Supp. 2d 13, 21-22 (D.D.C.


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2005), the Court will appoint its own medical/mental health

expert to examine the Petitioner and provide the Court with a

report and any recommendations.     Therefore, it is hereby:

     ORDERED that the government shall forthwith provide

Petitioner’s counsel with copies of all of Petitioner’s medical

and mental health records, on a continuing basis, pending further

order of the Court; and it is further

     ORDERED that by no later than noon on December 24, 2008, the

parties shall confer in an effort to agree on the names of three

medical professionals, and, if they are unable to agree, each

side shall submit its list of three names to be considered by the

Court for appointment as an independent medical expert to examine

Petitioner and provide the Court with a report on his medical and

mental health condition; and it is further

     ORDERED that Petitioner’s request for an order that (1) the

government refrain from restraining Petitioner during force-

feeding; (2) the government immediately diagnose and treat the

cause of Petitioner’s vomiting and inability to retain feeding

solution; (3) the government substitute a non-corn-based feeding

solution to the extent that an allergy is the cause of

Petitioner’s inability to retain the feeding solution; and (4)

the government permit a physical examination of Petitioner by an

independent medical expert retained by Petitioner’s counsel are

DENIED without prejudice pending the independent medical expert’s


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report; and it is further

     ORDERED that the Court’s Order to the government to produce

all exculpatory information related to the allegations in the

amended factual return that have been withdrawn by the government

is STAYED pending the Court’s resolution of the government’s

Motion for Reconsideration.

     SO ORDERED.

SIGNED:   Emmet G. Sullivan
          United States District Judge
          December 22, 2008




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